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         Exhibit 1
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From:          Elizabeth Hadaway
To:            Driscoll, Robert; Carry, Alfred; AttorneyLambert
Cc:            Plunkett, Daniel T.; Alfred D. Carry; Amanda Oliver; Andrew D. Parker; Bethany Pickett Shah;
               blades@parkerdk.com; Carl C. Butzer; Charles L. Babcock; Chris Kachouroff ; Christina Vitale ; Dominion
               ListserveSusmanGodfrey; Christopher Grecian; Daniel Marvin; Daniel T. Plunkett; David C. Tobin; David Myers;
               Elizabeth S. Wright; Gregory M. Singer; Jill Thorvig; Joel R. Glover; John F. Lauro; John K. Edwards; Jonathan D.
               Neerman; Joseph A. Pull; Joseph D. Sibley; Joshua Mooney; Lori Johnson; Marc J. Eisenstein; Marc S. Casarino;
               Minoo S. Blaesche; Nancy W. Hamilton; Nathaniel R. Greene; Robert Cynkar ; Robert N. Discoll; Roxanne A.
               Russell; Teresa Cinnamond; Trent McCotter
Subject:       RE: Byrne/Dominion - Substitution of Counsel
Date:          Tuesday, March 12, 2024 6:48:01 PM
Attachments:   Byrne Dkt Protective Order.pdf
               image001.png
               image002.png
               2024-02-11 Email from R Driscoll to Dominion Counsel re Breach of Protective Order.pdf
               2024-03-12 Email from D Brook to R Driscoll re Breach of Protective Order.pdf



All:

Pursuant to the Court’s orders, we intend to raise Mr. Byrne’s counsel
breach of the Amended Protective Order and purported withdrawal and
substitution of counsel to the Court. See draft email to the Court below.
 Please let us know if you consent by today, March 12, 2024, at 9:30pm
ET.

We also request the following information be provided by end of day,
March 14, 2024:

   Attorneys for Mr. Byrne, please provide a list of all persons that you,
         your legal team, or your client Mr. Byrne have given access to
         Dominion’s documents produced in this litigation.

   Counsel for all parties, please confirm whether: (1) You have provided
        Ms. Lambert with access to any Dominion-produced documents;
        (2) Ms. Lambert has historically or is currently representing your
        clients in this litigation or any other litigation related to the 2020
        Presidential Election; and (3) To the extent you are aware,
        whether Ms. Lambert is representing any third parties associated
        with your client (including The America Project and the Lindell
        Legal Offense Fund) in this or any other litigation related to the
        2020 Presidential Election.

We received notice of Ms. Lambert’s appearance and, at Mr. Carry’s
request in his email below, have added her to this thread. Given the
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current circumstances, however, we ask that at least one of those
McGlinchey attorneys who represented Mr. Byrne until today, Mr. Driscoll
and Mr. Carry, attend Monday’s hearing. Please let us know as soon as
possible who will be there.

***
Dear Judge Nichols, Judge Upadhyaya, and Chambers:

[With consent of Defendants], Dominion brings to the attention of Your
Honors, Judge Nichols and Judge Upadhyaya, an urgent matter regarding
breach of the June 16, 2023, Amended Protective Order, attached hereto.
See Byrne Dkt. 46; see also Powell Dkt. 82; Lindell Dkt. 165; Giuliani Dkt.
55. We submit this matter to Your Honors concurrently given that the
Protective Order was signed by Judge Nichols, but discovery disputes have
been referred to Judge Upadhyaya.

On March 11, 2024, Mr. Robert Driscoll, counsel for Mr. Byrne, alerted
counsel for Dominion to the fact of the breach in an email, attached hereto
with its attachments, stating:

      It has recently come to our attention that Confidential Discovery
      Material produced by Dominion in this case has been disclosed in
      a public filing in Michigan by Stefanie Lambert. Ms. Lambert had
      access to Confidential Discovery Material as an attorney for
      Patrick Byrne who was assisting in this litigation. Prior to her
      gaining access to any Confidential Discovery Material, she signed
      an Undertaking in which she agreed to use all Discovery Material
      only as permitted by the Protective Order. Attached is a copy of
      her signed Undertaking.

      Dominion’s Confidential Discovery Material appears to have been
      shared with a non-party (i.e., Sheriff Dar Leaf of Barry County,
      Michigan) by Stefanie Lambert and publicly disclosed by her as
      part of a filing she made in the criminal case styled People of the
      State of Michigan vs. Stefanie Lynn Lambert Junttila, which is
      currently pending before the Sixth Circuit Court in Oakland
      County, Michigan as Case Number 2023-285759-FH….
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The same day, Dominion’s Co-Lead Counsel Ms. Davida Brook responded
and requested more information about the scope and extent of the breach
and about counsel’s remedial efforts. A copy of Ms. Brook’s email is
attached hereto as well. Ms. Brook also communicated Dominion’s intent
to raise the issue on the following day’s previously scheduled meet and
confer concerning the parties’ Joint Status Report and at the upcoming
March 18, 2024 hearing. Id.

On the next day, today, March 12, 2024, the Parties met by Zoom to discuss
this Joint Status Report. During that conference, Ms. Brook raised the need
to add the breach to this Joint Status Report and alert the Court at the
March 18 Hearing, and Mr. Driscoll agreed.

Then, earlier this afternoon, Ms. Stefanie Lambert, the attorney who has
violated the Amended Protective Order, filed a Notice of Appearance on
behalf of Mr. Byrne. Subsequently, Mr. Byrne’s longtime counsel of record,
the McGlinchey lawyers, purported to withdraw as counsel. Dominion has
to date received no assurance from Mr. Byrne’s counsel as to whether Mr.
Lambert continues to retain Dominion confidential information or whether
she has stopped violating the protective order or intends to take any
remedial measures to cabin and remedy this breach.

Dominion notified Defendants of its intent to raise this matter with the
Court in the attached email.

Dominion urgently seeks the Court’s assistance to address and contain the
breach caused by Mr. Byrne’s counsel. We ask for the Court to permit an
emergency hearing before Judge Nichols or Judge Upadhyaya, or for
permission to raise this issue at the March 18 hearing.

Respectfully submitted,

****

Thanks,
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HOUSTON • LOS ANGELES • SEATTLE • NEW YORK




From: owner-dominion@lists.susmangodfrey.com <owner-dominion@lists.susmangodfrey.com> On
Behalf Of Carry, Alfred
Sent: Tuesday, March 12, 2024 4:59 PM
To: Dominion ListserveSusmanGodfrey <DOMINION@lists.susmangodfrey.com>; AttorneyLambert
<AttorneyLambert@protonmail.com>
Cc: Driscoll, Robert <rdriscoll@mcglinchey.com>; Plunkett, Daniel T. <dplunkett@mcglinchey.com>
Subject: Byrne/Dominion - Substitution of Counsel

EXTERNAL Email
Dear counsel,

Today Stefanie Lambert entered an appearance in this case on behalf of Patrick Byrne. Subsequently,
McGlinchey and its counsel of record filed a notice to withdraw. Please substitute Ms. Lambert on all
of the appropriate email distribution lists for this case.
Thank you,
Alfred


 Alfred D. Carry
 Attorney at Law

 acarry@mcglinchey.com
 1275 Pennsylvania Avenue NW, Suite 420, Washington, DC 20004
 T (202) 802-9951 F (202) 330-5897

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 Alabama California Florida Louisiana Massachusetts Mississippi New York
 Ohio Rhode Island Tennessee Texas Washington Washington, DC




www.mcglinchey.com

McGlinchey Stafford, PLLC in Alabama, Florida, Louisiana, Massachusetts, Mississippi, New York, Ohio, Tennessee, Texas,
Washington, and Washington DC and McGlinchey Stafford, LLP in California.

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